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Sean Snyder

_ {Pro Se}

4305 N.E. 143" Ave
Vancouver, Wa 98682 U.S.A.

.1(3601719-0093

Email: frenzygear@comcast.net

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF W. ASHINGTON

Sean Snyder, an individual

Plaintiff,

Stox Technologies LTD, a cornoration, Moshe
Hogeg, an individual, and DOES 1-10

Defendant(s).

CV19-6132-xB

COMPLAINT FOR:

1) BREACH OF CONTRACT;

2) BREACH OF FIDUCIARY DUTY;
3) FRAUD;

4) INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS

5) UNJUST ENRICHMENT

6) DECLATORY RELIEF

7) ACCOUNTING

AND

8) RICO (18 U.S.C. §§ 1961, ET SEQ.);
(28 U.S.C. § 1332; Diversity of Citizenship)
(28 U.S.C. § 1331)
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Plaintiff Sean Snyder (“Snyder” or “Plaintiff”), alleges as follows. Any allegations in this
complaint that are contrary to or inconsistent with one another are made in the

alternative.

JURISDICTION AND VENUE

Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal
laws or treaties is a federal question case, and also Under 28 U.S.C. § 1332, a case in
which a citizen of one State sues a citizen of another State or nation and the amount at
stake is more than $75,000 is a diversity of citizenship case, also under RICO (18 U.S.C.
§§ 1961, ET SEQ.)

SUMMARY

1 Plaintiff purchased a significant number of Stox Tokens (the cryptographic token used
on the Stox Platform (“Platform”), in reliance upon statements made in the relevant Stox White
Paper, in particular as to how, when, and in what quantities Stox would be releasing Tokens into
ihe market place. Those siaiemenis iranspired io be false and/or were noi in ihe event adhered io
by Defendants with the result that the market was improperly flooded with Tokens, causing a
drastic and unpredictable loss in value of the currency.

2. Once Plaintiff realised what had transpired, he took prompt steps to limit his exposure but

nonetheless incurred significant losses, for which he contends the Defendant's herein are liable.

3. Seeking to enrich themselves at the expense of Plaintiff and others, Defendant Moshe
Hogeg (“Hogeg”), his co-conspirators, and agents have defrauded U.S. investors and others from
all over the world out of hundreds of millions of dollars, of which Plaintiff claims damages of
not less than $430,000
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4. Motivated by greed and with total disregard for anyone but themselves, Hogeg and his
co-conspirators have committed numerous illegal acts. They have breached their contractual
obligations and fiduciary duties to Plaintiff: and they have illegally promoted and sold worthless,
unregistered securities.

5. Defendants issued and sold securities to US. investors without providing those
investors important information about their business operations, financial condition, risk factors
and management without filing a registration statement for the cryptocurrency tokens that they
issued and sold as they are required to do under the Securities Act of 1933.

_ 6, Defendants launched a series of fraudulent and illegal securities offerings that not only
viclate Plaintiff's rights but also violate numerous civil end criminel lews.

7. Hogeg has used the profits from these sales to fund numerous expensive purchases,
including $19 million to acquire land in Tel Aviv in one of the most expensive residential real
estate transactions in Israel’s history, $7.2 million for his acquisition of Beitar Jerusalem, one of
Israel’s top soccer clubs, and a $1.9 million donation to Tel Aviv University, who together have

joined to launch the Hogeg Blockchain Research Institute.
PARTIES

8. Plaintiff Sean Snyder is an individual who, throughout all times relevant to this action,
was domiciled in Washington State and lived in this judicial district. Plaintiff is also a United
States citizen.

9. Defendant Stox Technologies LTD is a Corporation registered in Gibraltar.

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10.. Defendant Moshe Hogeg is an individual currently residing in Israel. On information and
belief, Hogeg is a citizen of Israel. Hogeg is listed as the sole shareholder of Stox Technologies
LTD. Hogeg has a now well-established reputation as a “hype” master who became rich by
defrauding those who have invested in the worthless tokens (securities) he has issued and sold on
worle-wide Cryptocurrency Exchanges (i.e. “Liqui Exchange”) that permit, or at the time
permitted, U.S. Citizens to buy and sell multiple cryptocurrencies, including STX tokens.

12. Plaintiff is currently ignorant of the true names and capacities, whether individual,
corporate, associate, or otherwise, of the Defendants sued herein under the fictitious names Does
1 through 10, and therefore sues such Defendants by such fictitious names. Plaintiff will amend
this complaint to allege the true names end capacities of said fictitiously named Defendants when
their true names and capacities have been ascertained. Plaintiff is informed and believes and
thereon alleges that each of the fictitiously named Doe Defendants is legally responsible in some
manner for the events and occurrences alleged herein, and for the damages suffered by Plaintiff.

13. Plaintiff is informed and believes, and on that basis alleges, that all Defendants including
the fictitious Doe Defendants, were at all relevant times acting as actual agents, captive agents or
brokers, conspiraiors, osiensible agenis, partners, brokers and/or joini veniurers, and employees
of all other Defendants, and that all acts alleged herein occurred within the course and scope of

said agency, employment, partnership, joint venture, conspiracy and/or enterprise, and with the
express and/or implied permission, knowledge, consent, authorization, and ratification of their.
co-defendants; however, this allegation is pleaded as an “alternative” theory wherever not doing

So would result in a coatradiction with other allegations.

STATUTORY FRAMEWORK

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14. Congress enacted the Securities Act of 1933 (“Securities Act”) to regulate the

offer and sale of securities. In contrast to ordinary commerce, Congress enacted a regime
of full and fair disclosure, requiring those who offer and sell securities to the investing
public to provide sufficient, accurate information to allow investors to make informed
decisions before they invest. Registration statements zelating to an offering thus provide
public investors with financial and managerial information about the issuer and the risks
and trends that would affect the enterprise.

15. Section 5(a) of the Securities Act [15 U.S.C. § 77e(a)] provides that, unless a
registration statement is in effect as to a security or an exemption from registration
applies, it is unlewful for any person, Cirectly or indirectly, to sell securities in interstate
commerce. Section 5(c) of the Securities Act [15 U.S.C. § 77e(c)j provides a similar
prohibition against offers to sell or offers to buy, unless a registration statement has been
filed or an exemption from registration applies. Thus, Sections 5(a) and 5(c) of the
Securities Act prohibit the unregistered offer or sale of securities in interstate commerce
absent an exemption. These prohibitions apply to a “distribution” of securities, the entire
process by which, in a public offering, a block of securities is dispersed and uliimaiely
comes to rest in the hands of the investing public.

16. The registration statements contemplated by the Securities Act require disclosures
that provide the public with the information necessary to make an informed investment 2
decision. Disclosures in a registration statement typically require items of information
concerning financial and managerial information about the issuer of the securities, details

about the terms of the securities offering, the proposed use of investor proceeds, and an

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analysis of the risks and material trends that would affect the enterprise. They also
impose on issuers a duty periodically to update this information.

17. For example, Item 3 on a Form S-1 registration statement calls for management’s
assessment of significant factors that make the offering speculative or risky. In addition,
Rule 421(d) of Regulation S-K requires plain English disclosure (important for
unsophisticated investors in a nascent or unproven tech innovation) {17 C.F.R. §
230.421(d)]. Finally, Sections 11 and 12 of the Securities Act [15 U.S.C. §§ 77k, 771]
impose strict liability on the issuer and underwriters of securities for false statements in
registration statements.

18. Section 5 of the Securities Act, by its terms, is all embrecing; it prohibits any
unregistered securities offering. Through exemption provisions like Section 4 of the
Securities Act [15 U.S.C. § 77(d)], however, Congress distinguished between (1) those
transactions that occur during the process by which securities are distributed to the public
in an offering that emanates from the issuer of the securities, and (2) subsequent trading
fransactions in the market by investors once the securities have come to rest with
invesiors.

19. In drawing this distinction between distributions and trading, Congress sought to
provide the protections afforded by registration both where securities are sold to the
public by the issuer, and where they are publicly sold through an intermediary who buys
the stock from the issuer with a view to public resale, defined as “underwriters.” 15
ULS.C. § 77b(a)(i 1). Congress enacted a broad definition of waderwriter to imchude ali
persons who might operate as conduits for securities being placed into the hands of the

investing public.
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20. A distribution by issuers and/or underwriters is not exempt under Section 4 and
requires registration unless some other exemption or safe harbor applies. The exemptions
and safe harbors are structured to exempt transactions where the purpose and protections
of registration have been otherwise satisfied. The party claiming that a distribution is
entitled to an exemption bears the burden of claiming the exemption.

21. The definition of a “security” includes a wide range of investment vehicles,
including “investment contracts.” Investment contracts are instruments through which an
individual invests money in a common enterprise and reasonably expects profits or
returns derived from the entrepreneurial or managerial efforts of others. In a variety of
circumstances, courts have found that novel or unique investment vehicles constitute
investment contracts, including interests in orange groves, animal breeding programs,
railroads, airplanes, mobile phones, and enterprises existing only on the Internet. As the
U.S. Supreme Court has noted, Congress defined “security” broadly to embody a
“flexible rather than a static principle, one that is capable of adaptation to meet the
countless and variable schemes devised by those who seek the use of the money of others

on the promise of profiis.”

BACKGROUND ON DIGITAL TOKENS
22. The term “digital asset” or “digital token” generally refers to an asset that is issued and
transferred using distributed ledger or blockchain technology, including, but not limited to, so-
called “cryptocurreacies,” “coins,” aad “tokens.” Untilies have offered and sold digital tokens ia

fundraising events, often called “ICOs,” in exchange for consideration.

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23. Generally, digital tokens may entitle holders to certain rights related to a venture
underlying the fundraising event, such as rights to profits, shares of assets, rights to use certain
services provided by the issuer, and/or voting rights. These digital tokens may also be traded on
digital-asset trading platforms where they are tradeable for other digital assets or fiat currency.
The coins or tokens are often tradeable upon delivery to investors.

24. Issuers of digital tokens typically release a “whitepaper” or marketing materials
describing the project and the terms of the issuance. To participate, investors typically transfer
funds to the issuer’s accounts. After the completion of the issuance, the issuer will deliver its
unique token to the participant’s unique address on a distributed ledger or blockchain.

25. In some instances, the digital tokens may continue to be sold by the issuer. In others, they
may only be obtained after issuance by purchasing them in secondary markets.

26. Defendants’ Stox and all other ICOS offering followed the publication of the SEC’s
Report of Investigation Pursuant to Section 21(a) of the Securities Exchange Act of 1934: The
DAO (Exch. Act Rel. No. 81207) (July 25, 2017) (the “DAO Report”), which put the digital
asset industry on notice that many digital assets such as the ICOS tokens are securities under
SEC v. W.J. Howey Co., 328 U.S. 293 (1946), and subjeci io ihe federal securities laws,
including registration requirements.

27. By not registering the ICOS offering, the company deprived the Plaintiff and other
investors of meaningful information that would be found in a registration statement that investors
could use to assess the company’s prospects,

28. Defendants’ coaduct is ougoiag, in November 2019 Moshe Hogeg lauached another ICO

for BLOCKTV hoping to raise an additional $6 Million.

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29. Defendants continue to expose investors to risky securities without complying with
provisions of the federal securities laws designed to ensure investors have adequate information
to evaluate such investments.

30. By this conduct, Defendants have violated Sections 5(a) and 5(c) of the Securities Act for

the unregistered offering of ICOS tokens.

FACTS
A. Merger With Anyoption to Acquire Its Binary Options Infrastructure.

31. In 2017, about a year after launching Invest.com, Hogeg and the other defendants
orchestrated a “merger” amongst Invest.com and Anyoptien.com in order to convince
millions of people around the worid to hand over their money for worthiess —
cryptocurrencies behind a veneer of legitimacy supplied by the Invest.com name. This
way, Hogeg and his co-defendants could create the impression that the things being sold
were legitimate investments, rather than the false promises they really were.

32. Once this was in place, Hogeg and his co-defendants embarked on a path that
would enrich them io the tune of several hundred million dollars, while violating laws

and regulations all over the world.

33. Using the invest.com name to make their claims that they were selling legitimate
investments more credible, Hogeg and the other defendants repurposed the former
Anyoption boiler rooms, affiliate systems and call centers now housed within Invest.com
io “sell” millious of dollars of worthless “crypiocurreacy” io unsuspecting “investors”

through Initial Coin Offerings (“ICOs”).

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34. The Defendants had been planning this scheme for months by that time. More than
four months before Defendants conducted the first of these ICOs, Rakishev ( Hogeg’s
business partner) foreshadowed what would follow when he told attendees at Syneq
Business Forum that he, Hogeg and others involved in Singulariteam intended to start
selling cryptocurrencies in the near future.

B. Shareholders of Anyoption allege fraud and theft.

35. In November 2018 an article was published in Globes,

1001261019, wherein it stated that; (emphasis added) “ Shareholders of Anyaption ("ADH"),
anquired by Hogeg's investcam ("IDC"), allege fraud and theft. The AGH shareholders petitioned the Tel Aviv
District Court on Thursday for a liquidation order against IDC. which engages in offerings of virtual currency to
the public. The petition alleges that Hogeg covertly removed assets worth tens of millions of dollars from. the
company, to the point of making it insolvent. In the framework of the petition, the shareholders make extremely
serious allegations and accusations against Hogeg. Among other things, they claim that Hogeg stole, robbed, and
looted money to which they were entitled under various agreements signed with a company under his control.
They allege that the information they discovered showed that IDC was deceitfully managed: Hogeg, the controling
shareholder and driving force in IDE. is using the company's assets for his personal needs and deriving personal
benefit from them: and the controlling shareholder loots and steals the company's assets and rights amounting to
tens of millions of dollars." The shareholders also claim that IDC and Hogeg have acted with a lack of
transparency, concealing information and documents. In view of this behavior, they say, they have a "real and

concrete” concern that Hogeg is covertly remaving IDC's assets, money, and rights and taking them for himself ar

giving them to strawmen on his behalf. In the petition they filed through Adv. Ofer Furth, Adv. Lior Dagan, and Adv.

Lior Liberman from the Furth-Wilensky-Mizrachi-Knaani law firm, the shareholders in ADH ask the court to appoint

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Dagan and Adv. Adi Figel as provisional liquidators for IDC, and to issue an order barring (DC or anyone on its
behalf fram making any disposition of the company's rights or assets. According to the liquidation petition, in dune .
2017, they contracted a merger agreement with IDC. a private company incorporated in Cyprus that conducts
initial currency offerings (ICDs) to the public and operates through IDC Israel, its subsidiary in Israel, Hageg, the
controlling shareholder in IDC. is the sole director of IDE Israel and a director of 1OC. The petitioners assert that
Hogeg controls and directs the company's activity through a foreign fund (Singulariteam), whose offices are
located in Israel, The liquidation petition alleges that in the framework of the merger agreement (and a revised
merger agreement signed by the parties in February 2018), the parties agreed that IDC would receive all of the
shares, assets, and activity of ADH, which would be absorbed into the IDC group. This was in return for 35% of the
shares, a $3.5 million payment from (DC's expected profits fram expected future ICOs, and an additional payment
of 465,000 tokens (virtual currency) of Stox Technologies (STX) worth millions of dollars mare. The petition also
alleges that Hogeg personally undertook to immediately inject $3 million of his own money into (DC for its activity,
plus tokens worth $6 million more, without diluting the petitioners as shareholders in IDC. The petition further
States that even before the merger agreement (both the original and revised agreements) was signed, an
agreement was signed on dune 19, 2017 between IDC and STX. then in the process of being founded and registered
in Gibraltar, stating IDE was a founding partner of STX and was accordingly entitled, among other things, tp 25%
af the shares in SIX According to the liquidation petitioners, shortly after the original merger agreement in June
2(7, they fulfilled their part of the bargain by transferring to IDC and Hogeg full control of ADH, including control
af its activity, assets, rights, funds, employees, know-how, and goodwill. Itis further alleged that IDC and Hogeg
replaced the directors in ADH and IDC, and also drew a $500,000 loan from AOH. The petitioners say that before
the merger agreement with IDE, ADH had three million customers in its custamer portfolio, owned licenses for its
activity (binary options) in Europe and many other countries, had a cash balance, was entitled tn money under the

agreement for future revenue, had extensive marketing and financial infrastructure, had a highly trained

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professional sales team and trained and experienced employees, ett. tis alleged that since the IDE merger
agreement was signed, Hogeg carried out a number of (COs through SIX. As part of one af the IDOs, S1X raised
$34 million from the public, and the value of the issued currencies ballooned to $60 million shordly afterwards.
According to the petitioners for liquidation, although the ICDs carried out relied on the know-how, goodwill, and
employees of ADH in the presentations to investors in the ICUs, based on the employees, offices,
accomplishments, and customers of ADH, Hogeg covertly transferred (DC's assets and rights to other
corporations under his control, or to corporations under the contral of strawmen on his behalf. It was also
alleged that Hogeg “did, and is doing, whatever he wanted with (DC's money and property, while emptying the
company of its assets." The liquidation petition makes accusations against IDC's controlling shareholder - Hogeg.
It claims that the petitioners learned after the ICDs that Hogeg had founded STX and registered (00% of it issued
share capital in his name and under his ownership, even though the provisions of the merger agreement state
clearly and explicitly that IDC was entitled to 25% of the shares in STX, among other things. In other words, the
petitioners are claiming that Hogeg stole and robbed IDE's shares in STX, which according to the results of the
ICD should have generated $15 million for IDC. The petitioners add that all of the proceeds that IDC should
received under the STX agreement following the allegedly successful ICO, ie. $3 million and 25% of the unsold
tokens, were not transferred, were not paid, and in effect were stolen from IDC by Hogeg through the use of
fraud. In the framework of the petition, the petitioners charge Hogeg with deceit and theft. They say that Hoge
“coveted and stole" the STX shares belonging to IDE, after having registered the IDC shares in his name and
ownership, follwing the successful ICO by STX. According to the petitioners, Hogeg concocted a fictitious
purchase agreement through which he “bought” IDL's shares in STX for $3 million, while not bothering to pay IDC
the fictitious proceeds of $3 million. Simultaneously with these acts, in addition to the alleged theft of IDE shares,
the liquidation petition alleges that Hageg added insult to injury by not transferring a $3 million payment and 25%

of the unsold tokens in the ICO (another $8.9 million) to which IDC was entitled from SIX, in violation of the

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merger agreement, the petitioners say. The petitioners further allege that Hogeg is covertly transferring (DC's
assets, activity, and rights to straw companies under his control or that of his relatives and associates. For
example, itis alleged that Hageg registered his private driver (who is also the husband af his personal assistant)
as the owner of a company he founded), “through which Hogeg competes with IDC's business, takes personal
advantage of IDC's business opportunities, and carries out round tripping’ to promote his personal affairs." The
petition alleges that Hogeg is depriving the petitioners, {7 shareholders in AH, who are entitled to he registered
as owners of 3976 of the shares in IDC, and has allegedly breached, and is breaching, in bad faith, his fiduciary
duty as a director and his duties of fairness and goodwill as a controlling shareholder, while committing theft,

fraud, and deceptive misrepresentation.”
C. Moshe Hogeg vs Anyoption: Court Appoints Temporary Liquidator.

36. In an article posted in November of 2018

https://www.financemagnates.com/cryptocurrency/news/moshe-hogeg-vs-anyoption-court-

appoints-temporary-liquidator/, ii siates ihai; (emphasis added) “investeum receives bluw afer failing tu

attend court hearing: judge says that silence speaks volumes.”

D. Crypte Mogui Moshe Hogeg’s ICO’S nave unusual patierns, Anaiysis finds.

37. According to an article published on March of 2019

https://www.coindesk.com/crypto-mogul-moshe-hogegs-icos-blockchain, it states (emphasis
added) “In light of the questions that have been raised about Stax and Sirin Labs, CoinDesk partnered with the blockchain
analytics firm Alethio, part of the Brooklyn conglomerate ConsenSys, to use its new reporting tools to explore the ICDs in
which Hogeg has been involved. Alethio prepared a three-pronged report detailing its analysis, which covered the Stox ICD.

the Sirin Labs ICQ and the LeadCoin ICD. The report concludes that all three ICOs have a single top holder in common, a

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wallet that as of February 2019 still held roughly 3 percent of the supply of all three tokens, respectively. This wallet,
OxBc373ed467faeabefdBES3b52 F4etb2d00c9fe8, also engaged in a unique pattern of transfers during the Lead@ain ICD,
which will be explored below. Although the blackchain analysis by Alethio doesn't show who controlled any wallets, and
Hogeg’s spokesperson declined to clarify if they are aware of the owners, the blockchain analysis did show that the wallet
with all three tokens received LeadCoin tokens indirectly, through a repeating pattern of proxy transfers, from the

~~ LeadEoin sale itself Separately, Alethio also found that during Sirin Labs’ SRN token sale, one wallet received 4,564 ETH
fram the SRN sale's official wallet. This second wallet (OxSSbB8/402bcb2c8460a50BaBBd7belcfi328528), later sent back
the same amount of ETH to the SRN sale's account potentially creating the appearance of more activity.

Alethio data scientist Danning Sui explained that her team “found a circle of ETH transfers” related to the SRN ICG. Lastly,
this second wallet eventually received 50 percent of all SRN tokens, according to Alethio's analysis. Many af the SRN takens
from this wallet appeared to end up on exchanges shortly after the sale, Both of these examined wallets have transaction
histories that are publicly recorded on the ethereum blockchain, Hogeg's spokesperson said they could not share
information about the wallet that recycled ETH funds in the Sirin Labs ICO and eventually received half of the token supply,
except to say: “This wallet participated in Sirin Labs’ presale.” When asked why this wallet received SRN tokens from the

sale, Hogeg's spokesperson replied: “We cannot share additional information.”

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SirinLabs_TokenSale amt

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hinds trom the token sale were sent ta wallet OxS966EI and then sent ETH back ints the sale’s account (image courtesy of
Alethia) What the blockchain says Sui explained that the blackchain data does not suggest any connection between the
parties that operated these wallets invalved with withdrawals fram the LeadCain sale and Sirin Labs sale, respectively. Nor
does the data suggest there is a pattern that connects these three sales other than common investors, such as the wallet
Ox8e373ed46 #SeabefdBE33b52f4elb2dfD0c%e8, which is a top holder of tokens from Sirin Labs, LeadCoin and Stox.
Regardless of who operated that top holder wallet during the LeadCoin token sale, Alethio's analysis showed patterns of it

receiving LeadCoin tokens from {4 wallets. The source of those LeadCoin tokens, albeit with proxy transfers in between, can

be traced back to the original sale contract, as illustrated below.

(mage courtesy of Alethin)

In short, tokens appear to have gone from the official LeadCoin issuance contract, through numerous independent wallets,
to a single wallet that also happened to be one of the top-l0 holders of SRN and STX, according to Alethia's analysis. Sirin
Lab's spokesperson said this wallet from the LeadCain sale has nothing to do with Singulariteam group nor Hogeg’s

secondary consulting firm Alignment Group, adding: "Chances are it belongs to one of the brokers in this industry. Ifit has

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LeadGoin tokens it's probably because the awner has invested in LeadCoin.” Alethio's new suite of investigative tools are not
intended tn guide interpretation of the data, Sui said. Instead, these tools are merely meant to help people make more
informed decisions based on understanding the flaw of funds. Alignment Graup Aside from the above-mentioned lawsuit it
appears that some of Hogeg's relationships with other companies across the crypto ecosystem may now be strained. Since
joining the blockchain sector in 2013, Hogeg has invested in and worked with many of Israel's crypto startups. Hogeg is the
owner of both the VC fund Singulariteam and the blockchain consulting firm Alignment Group. A press release issued in 2017
indicated that Alignment was being founded as a “blackchain hub” by Hogeg's Singulariteam, the blockchain firm
Blockchainll. and crypto investment group CoinTree Capital, run by Uriel Peled, also the founder of Orbs. The press release
also noted that Alignment's clients included Bancor, and features a photo of Bancor co-founder Eyal Herzog. The Bancor
company lago remains listed on the consulting firm's portfolio page. However, while Sirin Labs partnered with Bancor in

the SRN token sale and Bancor published a Facebook post about SRN, a Bancor spokesperson told CoinDesk that “no Bancor
~ founders have ever worked with Moshe Hogeg as an investor” and they did not have any “agreement with Alignment Group.”
The company logo for Orhs also appears on the Alignment website. An Orbs spokesperson told CoinDesk that although
“several Orbs founders initially considered involvement in Alignment,” none of them officially took part. Orbs founder

and former CoinTree CEO Peled was also featured as a LeadCoin advisor on that IC O's website in 2017, a connection Orbs

denied as well. Hogeg told CoinDesk that within a few short weeks after establishing Alignment. both of the other
entrepreneurs ~ Peled and Herzog ~ left the advisory firm, leaving him as the sole owner. While an Orbs spokesperson
denied involvement with any of Hogeg's eryptn projects, CoinDesk was able to confirm with the Qirbs team that Hageg
invested in Orbs through Singulariteam. Avishai Ziv, CEO of bath Singulariteam and Alignment, told CoinDesk that his
Companies invested in both Bancor and Orbs, Ziv explained these investments sometimes took the form af services
provided by Alignment, traditional fiat investments through Singulariteam or cryptocurrency sent by Hogeg, depending on

the context “Singulariteam, as a venture company, is not allowed to participate in any ICO." Ziv said of current legal

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restrictions in Israel. “So, maybe sometimes Moshe is doing it on a personal level. Maybe sometimes other partners are

also doing it on a personal level. Alignment mainly gets payments in light of service agreements before the IC[.”

Singulariteam CFO Guy Ehanani is also simultaneously the CFO of Sirin Labs. As for the lawsuit, it claims that Hogeg urged
investors to participate in the Stox ICO by claiming the token could be listed on the cryptocurrency exchange Binance. The
consulting firm Hogeg owns called Alignment Group lists Binance on its portfolio page. However, a Binance spokesperson
told CoinDesk: “We have no affiliation with Alignment Group. Our guess is that the firm has included the Binance logo on
their website to indicate their personal portfolio of projects, ie. they may be holders of Binance Coin (BNB). We have no
affiliation with STOX or Moshe." Sirin Labs Much like both the Stox and LeadGain tokens, Sirin Labs’ SRN token suffered in

the broader market since ether prices dropped. According to (CO-class-action.org, there are now 52 peuple interested in

filing a new lawsuit against Sirin Labs because that SRN asset and its blockchain ecosystem may not have sufficient value.
As of the time of press, itis unclear who the plaintiffs would be or what the details of this alleged case would be, although a
representative from the site confirmed that documentation for this prospective case is proceeding. Speaking of the
broader market sentiment that might have influenced how people view his projects, Hogeg told CoinDesk: “We've seen a lot
of value that was invested in the (blockchain) industry but there was not a Int of value created for real users.” As for Sirin
Labs, a Ukrainian retailer called Legio LLC confirmed it will soon start selling Sirin phones in Ukraine. A Sirin Labs
spokesperson told CainDesk more than 10,000 phones have been manufactured so far and the company plans to open a
flagship store in Tokyo this April. Hageg said such “real products” will take the blockchain technology “to mass markets,”
concluding: “What | see right now is a lot of bullshit is getting out of the industry and the real people who really understand

the industry, the philosophy and the potential behind it they are staying.”

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E. The Stox.com ICO

38. Hogeg and his co-defendants’ first ICO was the ICO of Stox.com. That ICO
fleeced at least $32 million from people who were duped into buying Stox tokens that
turned out to be essentially worthless.

39. To maximize the appearance of legitimacy created by associating the Stox.com
ICO with the Invest.com name, Stox.com was characterized as a “spin off” of Invest.com
and some of Invest.com’s company directors (including Hogeg and Chen) were
characterized as “advisors” to Stox. The purpose behind connecting Stox.com to
Invest.com is unmistakable. Stox.com’s CEO, Ophir Gertner, invoked the Invest.com
name to set the Stex ICO apart from prior ICOs that resulted in buyers losing all or
substantially aii of their money: “The biggest difference, is that there is a real, substantial,
experienced company [(Invest.com)] behind this....”

40. The “whitepaper” issued to promote the Stox.com ICO went even further: “Stox

was designed by veterans of the online trading industry using the knowledge and

experience acquired by invest.com. invest.com is an established online financial company .

which has been operating in the investment field since 2014. invesi.com’s irading
platforms accommodate over 3 million registered users and facilitated more than 8
million transactions last year alone. invest.com currently employs over 200 employees
across 5 countries, providing the solid foundation and infrastructure of the franchise to
bootstrap the Stox network.” That “whitepaper” bound Invest.com even mote tightly to
ie Siox.com ICO by claiming that “invest.com will be one of the launch pariners for the
Stox network and serve among the first providers and operators. This will bootstrap

activity in Stox from day one.”

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41. In addition to trying to create hype by tying invest.com name to the Stox token
sale, they paid Floyd Mayweather Jr. to illegally promote the Stox token sale, and his
actions were hugely responsible for convincing the Plaintiff to invest everything he had
buying worthless STX tokens, as by doing so and pretending he was excited about the
token sale, combined with Stox’s announcing a special announcement was going to be
made on the same day as Mayweather vs. McGregor. Unfortunately, this did not happen,
everyone speculated that Stox was going to sponsor the fight, and Stox was aware this is
what everyone thought, and they didn’t deny it, nor try to calm the crowd down in their
Telegram channel. It turns out the special announcement was that Stox had partnered
with AnyOption, when in fect, this hed happened months before the token sele.

42. Unlike a traditional Initial Public Offering (“IPO”) of stocks or other registered
securities that offer a fixed number of shares for sale and are regulated by the SEC or
similar regulators in other countries, ICOs are almost completely unregulated and occur
with no independent oversight. The damage that can be done by unregulated,
unsupervised securities offerings was on full display with the Stox ICO.

43. To creaie an impression thai Siox tokens purchased in ihe ICO would be valuable
after the ICO, Defendants represented to potential purchasers of Stox tokens that the
monies they paid to acquire Stox tokens in the ICO would be retained by Stox to “finance
the Stox roadmap.” In other words, the proceeds of the ICO would be retained by the
company to support its operations and growth (much like money raised through an TPO
generally gives value io ihe siock sold ia the IPC because thal money is retained by the
company and put to uses that are intended to benefit the company and its stockholders).

As it turned out, that claim was a lie.

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44. In reality, less than $5 million of the $32 million collected through the ICO was
actually retained by Stox.com. The rest was diverted elsewhere, including millions to :

Defendants.

=, The Stex Whitepaper.

45. In or around the beginning of July 2017 Stox issued a White Paper setting out
the terms of its proposed Platform. The Plaintiff downloaded and relied upon the
White Paper, V03. It is noted that the current version of the White Paper, as made
available on the Stox website, continues to be referred to as V03, but is materially
different to the version made available the Plaintiff in July 2017. It seems that Stox
sought to change the vesting schedule, at the last minute before the ICO, but failed to
make the changes available and accessible by persons such as the Plaintiff who use
android devices, This failure was accepted by Stox at the time and is beyond
doubi.

46.In essence, the Platform comprises an online space for investors / users to
trade on the outcome of all sorts of everyday events (sports, celebrity marriages,
elections and so on). In order to trade on the Platform, users are required to purchase
Siox Tokens ‘STX’. The ST'X can ihen be used io purchase shares in the outcomes of
various defined events, the price of such shares being dictated by the purchasing
activity of other users (Le. in effect, how likely other users consider the outcome of a
particular event to be).

47. STX is an Etherum based token, and is used in all key operational aspects
of the Platform, including transaction fees, syndicate payments as well as being

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the functional currency for the predication events. The White Paper
acknowledged the token as “...an integral part of the Sox platform and the driver for its
economy” (p 10). It also stated that: “Undike other ‘proposals for investment currencies, it is a
Slexible exchange-rate currency, making it exposed to hquidity and volatility risks” (p 12).
Certain ‘risk factors’ were identified by Stox, including liquidity difficulties (which
were to mitigated by use of Bancor liquidity services “... eliminating the need for
pegging or stabilization mechanism” (p 13)), and third-party risks (such as competition,
stale or international regulation and digital currency marked irends).

48. As with most, if not all, cryptocurrency trading or investment platforms, a
central part of the internal currency controls is the stated strategy for token
issuance, including the vesting schedules. Plainly, the overall amount of currency
issued, and over what period — particuiarly during the early phases of a newly
launched service together with a linked currency — is critical both to the currency
price and to its stability. The enhanced risk during the initial release phases was
recognised in the White Paper, at p 10: These risks are a big concern for most
bootstrapping markets, when the proposed service launches together with the currency, and in the
subsequent period of no or little growth of the service.

49. The Stox token issuance strategy was set out on p 43 of the White Paper (the
version as rclicd upon by the Plaintiff). Stox indicated that, 2s is common is this
area, it would be holding an initial coin offering (‘ICO’), at which an initial supply
of STX would be made available to the market, purchasable in Ether (an

established open-source cryptocurrency generated by the Etherum platform).

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Stox imposed a hard cap on the initial token offering of 148,000 ETH. STX was

offered at a fixed exchange rate / price of 200 STX per ETH. It was stated that,

at close of the ICO, “...the distributed STX will constitute the entirety of the available

liquid supply” (Whiic Paper, p 43). Thercaficr, the rclcasc of STX was to governed

by the distribution table / vesting schedule, which provided as follows:

% of | Beneficiary Special terms
Total
Supply
50% Token sale Coins cannot be transferred
participants until end of token sale period
12.5% Tavest.com Uniform 12-month vesting
Ltd schedule
10% Stox team Uniform 24-month vesting
schedule
27.5% Stox Ltd. Uniform 12-month vesting
schedule. Will be used to bring
strategic partners to the Stox
ecosystem, and as operational
reserve.

50. Thus, the advertised strategy was that there would be an initial capped

offering of STX, which would be sold at a constant price in ETH. The ICO sale

period was to last for a maximum of 14 days (White Paper, p 44). As can be seen

from the first row of the distribution table (above), the figure representing the

number of STX sold during the ICC would be used to set ihe limi: of the overall

NN
N

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supply of STX; i.e. the initial number of STX sold was to be 50% of the overall 1
coin supply. If for example 10,000 STX were sold during the ICO, the overall

coin supply would be 20,000. The purpose of this was to keep coin stock vis-a-vis

coin supply in proportion and therefore (ia line with ihc ioken issuance siraicgy

more generally) limit the risks of illiquidity and of exchange rate volatility.

51. For predominantly the same reasons, controls were imposed on the
further release and distribution of STX, Following the ICO, 12.5% of the total
STX suppiy was to be transferred to Invesi.com (in ligni of iis on-going role in |
the operation of the Platform); but those STX could not be sold or released onto
the Platform for 12 months. A further 10% was transferred to the Stox team, not
to be sold or released for 24 months; with 27.5% to be retained by Stox itself, but |
which were not to be used for 12 months.

52. The token issuance strategy, including the vesting schedule, is fundamental
to a prospective user’s assessment of the likely stability of the currency used on
the platform in which he or she is considering to invest (in this case, STX).

53. In addition to being a key indicator as to the likely stability and market
price of the currency, the advertised token issuance policy is central to a
prospective user’s assessment of the likely commitment of the organisers and
operators, to the operation of their platform. In the case of Stox, the company
was to retain 27.5% of the total supply of S'1'X which, in accordance with the
distribution table, it was prevented from selling or transferring for at least the first

12 months. One of the purposes of these vesting arrangements is to commercially

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incentivise the token holder (usually the operator or its staff) to make the
platform work. Users know, when they decide to invest, that the operator (in this
case Stox and the Defendants), cannot sell its tokens until the end of the most |
imporiani initial phase of ihe project. Ii is inceniivised io make the platform as
good as it can be, and to maintain and /or improve the currency price, such that,
at the end of the vesting period, it can sell its retained tokens for the best price.
The initial months of a trading platform such as this are critical.

54. The converse is plainiy the case, in circumstances where the operaiors is
entitled to sell its tokens immediately after the ICO. The price payable for the
STX in this case was fixed during the ICO. Thus, subject to fluctuations in ETH,
the value of each STX was clear. Thereafter, once opened up for trade on the
general online currency exchange market, the price wouid fiuctuate. in the
absence of controls requiring Stox (and other STX holders — invest.com and
Defendants herein) from vesting their STX, they could simply dump all their
tokens on the market, likely achieving a reasonably high price not too dissimilar
to the fixed 1CO price. ‘i'he token hoider would have no incentive to keep his
tokens or to work on maintaining or increasing the token value over the vesting
period. Furthermore, the market would be flooded causing instability and
inevitable depression in the value of the currency. In the event, as further

explained below, this is exactly what happened in this case.

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G. The ICO and the Plaintiffs investment

55. The ICO took place in July 2017. The hard cap was met, with the result
that Stox sold 29,600,000 STX at a fixed price of 200 STX per ETH. This
produced an income for Stox of around $32m (as, at that time, the price of ET!
was a little over $200 per E'1'H). ‘Ihe Plaintiff did not take part in the ICO (asa
US citizen he was in fact not entitled to do so). At the end of the ICO (and in
accordance with the distribution table, above) users wete entitled to transfer (sell
/ cxchangce) STX purchased during the ICO. On the basis of the representations
and statements made by Stox in the White Paper, The plaintiff chose to invest in
the Platform through the purchase of STX.

56. Prior to investing in the Platform, the Plaintiff maintained a significant
balance of Crypiocurrencies. Following the ICO, ihe Plaintiff traded a large
amount of his Cryptocurrency balance in exchange for STX. The transactions
were all carried out through ‘Liqu?’, an online cryptocurrency exchange platform
(www.liqui.io).

57. Prior io investing, ihe Plaintiff considered the staiemenis made about
token issuance and in particular the proposed staged release of STX over the
advertised vesting periods. He was satisfied that the stated strategy would likely
provide a sufficiently stable currency as well as commercially incentivising Stox to
use best endeavours to make the Platform as good as it could be. The
combination of a stable currency, controlled during the initial phases in particular,

and combined with a committed and incentivised Operator, is essential if a new

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product is to work (particularly when launched at the same time as a new
currency).

58. Along with many other investors, the Plaintiff relied on the truth of the
maticrs siaicd by Siox in iis White Paper, and in particular ihe siaicd token
issuance strategy. Whatever weight might be placed on other more aspirational
aspects of white papers, Stox would well have known the importance placed by
ptospective users on the commitments made in the White Paper in respect of the
token issuance and release strategy. This is fandamenial. In this particular case,
the exposure of users to the risk of currency fluctuation (as acknowledged in the
White Paper), enhanced the importance of the structural and procedural curtency
controls /safeguards promised in the White Paper. More generally, vesting
schedules, together with assessment of market caps and other data, are routinely
used in the industry to assess and predict future rates and market volatility in

ctyptocurrencies.

Fi. Stox’s conduct and consequential currency collapse

59. Shortly after the Plaintiffs investment, it became apparent that the STX
currency was performing very badly. The price at which STX was trading had
drastically reduced. Tt soon transpired that, contrary to the White Paper
commitments, Defendants had transferred and /or sold a significant number of

its 27.5% reserve of STX. It appears that these individuals in turn sold their STX

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in large quantities and as quickly as possible (so as to transfer them for everyday
currencies).

60. At today’s date, there are 43,004,816 STX in circulation - around 16m
more than ihere ought io be according io ihe White Paper. Mosi if noi all of

these were effectively dumped on the market in the immediate weeks following

the close of the ICO. The STX market become flooded and the currency began

to plummet in value. The predicators Platform had quickly become commercially _
unviable for investors. News of the behaviour of Siox spread rapidly online
amongst Stox investors as well as others in the industry.

61. On telegram heated discussions rose up about the vested tokens, and questions

were also raised about the Stox ETH Wallet.

62. The person who first brought it to everyones attention was soon after banned from
the telegram channel based on antisemantics. Although he was banned, questions about
vested tokens continued.

63. In an official announcement posted on their medium channel on September 27”
2017 Stox claimed that; (emphasis added) “Yesterday there were a lot of comments in the Stnx
Telegram group about transactions in the Stox wallet Last night members of the Stex tearr communicated with
those who had been most vocal on the matter. This is an explanation of the activity in the wallet which had raised
questions. Prior to the Stox token sale, contributions were made through the pre-sale. Some of these contributions
were made in fiat- We converted the contributions into Etheraum and moved them into a wallet. The sum which
appeared in this wallet was 888 ETH.- After the inken sale this wallet was used hy the primary shareholder to huy
more STX in the market. The CTH from the wallet was purchased froni the company by Mashe Hageg. These were
used to purchase additional STX. Although this may not have been the best way to manage the wallet it was done in

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good faith. Additional Stox tokens were purchased by Moshe as he is a huge fan of Stox wha strongly believes in
what we are doing as he has said many times. There has been no unethical behavior, nor any dumping of Stox token.
We apologize for the confusion we caused and will take better care in future”

64. Later on September 28" 2017 Stox made another official arnouncement. In regards
to the tokens which Were supposed to be vested they stated; (emphasis added) "Where we
could, and in retrospect, should have been clearer. is how pre-sale costs, for example, marketing, bonuses,
bounties, Wings, advisors, vendors, etr., dilute the Allocation Pools, The aforementioned pre-sale costs accumulated
to a tntal amount of tokens equal tn: 211.7%. Ideally, we should have included the table helaw with the fully-diluted

Allucatiuns, after the pre-sale cusis were applivd.

% of Total Supply Beneficiary Special terms
7.32% invest.com Ltd, Uniform 12-month vesting
schedule
5.86% Stox team Uniform 24-month vesting
schedule
16.11% Stox Ltd. Will be used to bring strategic
partners to the Stox ecosystem,
and as operational reserve

lil Takeaway: Htis important foe us in arknnwledge that we should have ensured such infrematinn wes articulated
cleurly in advance uf the sale. We mut unly apulugize, but aisu promise iu be mure mindful in the fuiure in huw we
communicate such vital information. The community uproared, about the changes from investcoms allocated
12.5% and Stox team {0% and demanded they vest the tokens according to the whitepaper. Then on Detnber 2,

2017 Stox made another official announcement wherein they stated “We have made some changes to Stox wallet

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allocation. We decided that the Stox wallets should reflect what is published in the whitepaper, rather than how they

appear in cur last update, and have therefare done the fallowing: (a) The pre-sale costs which diluted all allocation —

costs have been reimbursed tn the vested wallets. All costs have heen charged to the company's non-vested wallet
(b) The tokens in the vested wallets new aecurately represent hew they were presented in the whitepaper and
constitute a total of 22.5% of tokens. (c)You can see the actions we took in the trustee wallet:

“Dx7970 713080702 BSCE FSdcF9719e8e9FI7126370 (d)We hope and believe this reflects our commitment to being

fair and transparent.”

Tile important ia iaie dial the actions diuy iwoh ia thie trustee wallet silt did viai reflect the Vetitiiig
schedules laid out in the version of the Whitepaper that the Plaintiff and anyone else who used android —
devices relied on.
I. Stox lists it tokens on Bancor exchange.
65. In early October of 2017 Stox finally listed the STX token on the Bancor Platform:
But by then the price had dropped from a high of $2.70 to about 48 Cents
66. According to the Whitepaper they were supposed to use a reserve of 4% of the
marketcap. However when they activated on bancor they only used a reserve of 4% of the
marketcap at the time of activation. This did two things.
1) saved stox over a million usd from purchasing bnt for a reserve
2) by activating the smart token at such a low price made it much harder to reach ico
"levels as the liquidity that would be provided by Bancor depended on the amount of BNT
tokens placed in the reserves, and would guarantee that millions of dollars had to be
injected into the smart token reserves just to bring it back to the price during the ico.
67. The Piaintiff, realising what had happened, reasoned that maintaining his
investment in STX and engaging in the trading platform would cause nothing but

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very significant further losses. The reputation of Stox and the Platform was, for good
reason, in tatters. In order to mitigate his losses, the Plaintiff began to extract his
STX, though a series of transactions as Stox was forced to add more liquidity on the
Bancor Platform. But notwithstanding this action the Plaintiff sustained significant
losses. Although the figures are still to be finalised, based on the difference between
the price at which the STX was purchased and that at which it was sold, the Plaintiffs

loss is around $431,772.

J. Material Misrepresentation and / or, negligent misstatement in the

68. It is the Plaintiffs claim that, but for the statements and /or
representations made in the White Paper, upon which he reasonably relied, he
would simply never have purchased the STX. It is the Plaintiffs contention that
the Defendants are liabie for these losses due to material miusrepresentaiion and
/or, at the very least, negligent misstatement in the White Paper.

69. The distribution table on p 43 of the White Paper was amended the day
before the ICO, in particular by removing the requirement for Stox to vest its
27.5% of the token supply for 12 months. First, Stox failed to upioad the
amended version in a format that could be accessed by all prospective investors
(including the Plaintiff); and secondly, changing the parameters of the token
issuance strategy and vesting schedule the very day before the trading goes live is
demonstrably bad practice and very likely to lead to misguided or misinformed

investments decisions to be made by prospective users. The Defendants made

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very little effort to bring this fundamental change to the vesting programme to.
the attention of investors. Certainly, the Plaintiff and many others knew nothing
about it. At best the behaviour of the Defendants was negligent.

70. It is hardly surprising, then, that Stox tokens have cropped by more than 99%

since the ICO and are now effectively worthless.

K. The Stox ICO Violated Numerous Laws, Including United States Securities
Laws

71. Even though Hogeg and his co-conspirators issued to themselves with the intent to
sell and did sell Stox tokens to purchasers in the United States through the cryptocurrency
exchange “liquid” and/or, the cryptocurrency exchange “etherdelta”, they did not register
the Stox ICO or tokens with the SEC, never provided any prospectus to prospective
purchasers of Stox tokens.

72. Defendants’ intent to unload Stox tokens on people in the United States is clear.
First, they used United State celebrities to promoie the Stox iCO in the United States.
They paid boxer Floyd Mayweather $100,000 to promote the Stox ICO by proclaiming to
his approximately 21 million Instagram followers that he was going to make “a $hit t$n
of money ... on the Stox ICO”. Mayweather is a well-known professional boxer whose
celebrity is primarily limited to the United States and whose Instagram followers are
primarily based in ihe United Siaies.

73. Hogeg was suddenly able to pay $7.2 million to buy one of Israel’s top soccer

teams, $19 million to buy land in a Tel Aviv suburb in one of the most expensive real

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estate transactions in Israel’s history, and $2 million to promote his public image through
a donation to Tel Aviv University.

74. On information and belief, the funds Hogeg used for those purchases and that
donation were funds which he embezzled from the many I.C.O.’s he has ran, including
the Stox LC.O.

75. As a result of this misconduct and these breaches of contract by Hogeg and the
other Defendants, Plaintiff has been damaged in an amount to be proved at trial, but
which is estimated to be not less than $430,000

76. Waiting almost two years since originally contacting the Attorneys representing
Stox Technologies LTD for them to come back with 2 reesonable settlement offer to ne
avail has caused immense stress for the Piaintiff. in fact, the stress was so bad, that even
though the Plaintiff was Married only weeks before he learned of Stox, he was
subsequently legally separated from his wife after only having been married for less than
7 months.

77. In addition to that, he had taken all the equity out of his home to invest into
Crypiocurrencies, and now has absoluiely noihing to show ior it, and no longer owns a
home of his own.

L. A LAWSUIT AGAINST STOX BROUGHT IN TEL AVIV

78. In January of 2019 I read an article posted online by calcalistech.com wherein it
stated that; (emphasis added) "Chinese ritizen 7hawen Hu ("Hu") filed a lawsuit Against Mashe Hageg and
Siux Technulugivs LTD alleging thai Hugeg gave muney guiien frum the buyers uf erypiu-cuin cailed Sax iu
himself and other companies he was involved with. The plaintiff alleges that Stox, which is registered in Gibraltar,

is fully owned by Hogeg and operated from his office in the greater Tel Aviv metropolitan area, and was claiming

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damages of $4.6 Million Dollars. Hu alleged that Hogeg “emptied the company of all of the proceeds of the ICD,”
either pocketing the funds or using them to float other businesses linked to him. According to the lawsuit, Hu
purchased Stox tokens with $1.8 million worth of Ethereum on the day of the ICO. He later purchased additional
tokens valued ot $2.2 million. The plaintiff said he wos encouraged to invest mere funds into Stox by a series of
messages fram Hogeg himself. According to the lawsuit, Stox boasted to investors about its sirategic partnership
with Invest.com without disclosing that it, also, was owned and operated by Hogeg. “Hogeg signed agraements
with himself.” the lawsuit reads. In the agreement Hogeg committed, as the owner of Stox, to pay himself. as the
awnar nf Invest enm. (7.59 nf the Sinx inkans minted in the IRM as well as additinnal $7-2 millinn fenm the
warnings uf that CO. The suit alsu included w iusiimuny by Ran Ashiar, Sux chief financial ufficer— whu is nut
named in the lawsuit— who said in a private questioning earlier this month Hogeg managed to somehow “transfer
money from one pocket to another.” Of the $34 million raised in the ICO, only $5 million were received by him as
the budget for the company, Ashtar said. The suit further alleges that the company loaned money and distributed
unauthorized dividends to Hogg and other people connected with him. in compliance with instructions given by
Hogeg himselt. this included money that was transterred as part of the ILL! ot Israeli blockchain company RBS.
Money also flawed from Stox to Hogeg's other companies, Sirin Labs and Singulariteam, the suit alleged. As a
result, the suit said, Stox ceased operations, letting go all its employees in Octnber 2018. Hogeg reacted to the
dissalirtinn nf the eamnany an Twitter, blaming requiatinn in Israel far its untimely shutdnwn, Relevant regulation
in israel has nui changed since the day uf Stu's (20 iu the diene it fei gu iis empluyuus, ihe lawsuli nulus,
According tu the suit, the Stox app was ultimately launched with no promotion and was downloaded by some (,000
andraid users. Investcom is not active but for a landing webpage, the lawsuit alleges.”

73. Eventually the lawsuit was forced into mediation wherein I have read that it was
determined that the Jurisdiction for the lawsuit was not the correct jurisdiction, as part of
the settlement Hogeg agreed to pay Hu $50,000 to cover his attorney fees.”

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FIRST CAUSE OF ACTION
(Breach of Investment Contract)
(Against All Defendants)
(1). Plaintiff realleges and incorporates by reference the allegations contained in
the preceding paragraphs of this compiaint, as though fuliy set forth herein.
(2). A valid and enforceable contract, the terms of which are alleged above, existed
between, on the one hand, Plaintiff and, on the other hand, Stox.
(3). Failed to perform their obligations under the WhitePaper.
(4) The defendants breaches of the agreements in the Whitepaper and subsequent
divesting of Tokens which were supposed io be vesied herein caused Plaintiff io suffer

damages in an amount to be proved at trial.

SECOND CAUSE OF ACTION
(Breach of Fiduciary Duties)

(Against All Defendants)

(1). Plaintiff realleges and incorporates by reference the allegations contained in the
preceding paragraphs of this complaint, as though fully set forth herein.

(2). FIDUCIARY DUTY: As Trustees of the tokens which were supposed to be
Vested, the defendants owed 2 fiduciary duty to the Plaintiff to actually Vest those tokens

according to the conditions set out in the Whitepaper.

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(3). BREACH: Defendants breached their fiduciary duties to vest the tokens for the

time specified in the Whitepaper
(4). DAMAGES: Plaintiff has been damaged by the breach of the defendants
Fiduciary Duties.

(5). CAUSATION: Those statements transpired to be false and/or were not in the
event adhered to by Defendants with the result that the market was improperly flooded
with Tokens, causing a drastic and unpredictable loss in value of the currency.

(6). Defendants’ conduct in breach and in aiding and abetting the breach of the
fiduciary duties owed to Plaintiff was done with malice, oppression or fraud and with the

intent to cause damage to Plaintiff, entitling Plaintiff to an award of exemplary demages.

THIRD CAUSE OF ACTION
(Fraud)

(Against All Defendants)
(1). Plaintiff realleges and incorporates by reference the allegations contained in the preceding
paragraphs of ihis compiaini, as though fully set forth herein.
(2) That a material representation was made;
(3) The representation was false:
(4) When the representation was made, the defendants knew it was false or made it recklessly
without any knowledge of the truth and as a positive assertion;
(5) The defendants made the representation with the intent that the other party should act upon
it;
(6) The Plaintiff acted in reliance on the terms and representation; and

(7) The Plaintiff thereby suffered injury.

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FOURTH CAUSE OF ACTION
(Intentional infliction of emotional distress)
(Against All Defendants)

(1). Plaintiff realleges and incorporates by reference the allegations contained in the preceding
paragraphs of ihis compiaint, as though fully sei forth herein.
(2) The tort of intentional infliction of emotional distress has four elements:
(3). The actions of all defendants meet the elements needed to bring this Fourth cause of action
because;
(a) the defendant must act intentionally or recklessly;
(b) ihe defendant's conduct niusi be extreme aad outrageous; and
(c) the conduct must be the cause
(d) of severe emotional distress;
(4) The damages sustained from the Intentional infliction of emotional distress include;
(a). Loss of Consortium
(b}. Loss of Enjoyment of Life.
(c). Lost Earning Capacity

(d). Mental Anguish

FIFTH CAUSE OF ACTION
(Uniust Enrichment)
(Against All Defendanis)
(1). Plaintiff realleges and incorporates by reference the allegations contained in the preceding

paragraphs of this complaint, as though fully set forth herein.

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(2) The Plaintiff purchased STX tokens.

(3) The Defendants were Unjustly Enriched.

SIXTH CAUSE OF ACTION
(Declatory Relief)
(Against Stox Technologies LTD)

(1). Plaintiff realleges and incorporates by reference the allegations contained in the preceding
paragraphs of this complaint, as though fully set forth herein.
(2) A justifiable controversy exists between two or more parties;
(3) Regarding their respective rights pursuant to a contract;
(4) Such that the plaintiff asserts a claim of a legally protected right;
(5) The issue is ripe for judicial determination; and

(6) Plaintiff asks the court to determine the parties’ relative rights under the contract.

SEVENTH CAUSE OF ACTION
(Accouniing)
(Against All Defendants)
(1). Plaintiff realleges and incorporates by reference the allegations contained in the preceding
paragraphs of this complaint, as though fully set forth herein.
(2). Plaintiff is entitled to a full and complete accounting of;
(a). Deiails and evidence of all STX tokens held by Siox, or to iis order, Invesi.com Lid,

Stox Team and Stox Ltd as at the moment and date of the close of the ICO, together with

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details and evidence of how many of those tokens it sold, transferred, assigned or otherwise
divested itself of, over the period from the close of the ICO to-date.

(b). Details and evidence showing when and to whom those tokens were sold, transferred,
assigned or otherwise divested of.

(c). Details and evidence of any Fiat monies that were contributed to the ICO, by whom, and
to whom, which was purportedly used to purchase ETH from the pre-ICO contract and which
were subsequently used again to purchase more STX tokens during the main sale.

(d). An accounting as to what was done with the 32 Million worth of ETH that was raised in

the ICO.

(3). The Plaintiff is entitled to know when end for what reason Stox appears to have divested

itself of millions of tokens, which it promised to vest for up to 24 months. He is entitied to

know what happened to those coins. Apart from anything else this information will be
required in order instruct an expert to opine on the effects of the currency release on the price
and volatility of the STX market. Further, their advance disclose is “desirable” for one or
other of the following reasons; to-

(i) dispose fairly of ihe anticipated proceedings;

(ii) assist the dispute to be resolved without proceedings; or

(iii) save cost.

(4). Clarity on the issue as to exactly what happened with the STX held by Stox or to its
order, Invest.com, Stox Team and Stox Lid, and all defendants and when, is central to the

Plaintiffs claim. it is also cenizal to the questions of loss and causation.

EIGTH CAUSE OF ACTION

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(RICO — 18 USC §§1961, et seq.)

(Against All Defendants)

(1). Plaintiff realleges and incorporates by reference the allegations contained in the
preceding paragraphs of this complaiat, as though fully set forth herein.

(2). As alleged herein, Stox Technologies LTD and Moshe Hogeg acquired and/or
maintained, directly or indirectly, an interest in or control of an enterprise of individuals
who were associated in fact and who did engage in, and whose activities did affect,
interstate and foreign commerce, all in violation of 18 U.S.C. §§ 1961 and 1962.

(3). During the ten (10) calender years preceding November 22, 2019, each of the
defendants did cooperate jointiy and severaliy in the commission of two (2) or more of
the predicate violations of law itemized at 18 U.S.C. §§ 1961(1)(A) and (B), and did so in
violation of 18 U.S.C. 1962(a),(b),and(c).

(4). Among the predicate violations of law committed by the defendants are: (1) wire
fraud, in violation of 18 U.S.C. §1343, (2) violations of the Securities Act of 1933, 15
U.S.C. §77a, et seq., and (3) violations of the Securities Exchange Aci of 1934, i5 U.S.C.
§78a, et seq. In pursuit of their fraudulent and illegal activities alleged herein, Defendants
caused writings, signs, signals and sounds to be transmitted by means of wire, radio or
television communication in interstate and/or foreign commerce, for the purpose of
obtaining money or property by means of false or fraudulent pretenses, representations,
Of promises,

(5). Plaintiff is accordingly entitled to an award of threefold the damages he proves at

trial, the costs of suit and reasonable attorneys’ fees.

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FIRST CLAIM FOR RELIEF
(Against All Defendants)

Unregistered Offer and Sale of Securities Violations of Sections 5(a) and 5(c) of the
Securities Act (against Stox Technologies LTD, and Moshe Hogeg )}
(1). Plaintiff realieges and incorporates by reference the allegations contained in the
preceding paragraphs of this complaint, as though fully set forth herein.
(2). As alleged above, Defendants Stox and all others offered and sold securities, in the
form of Stox’s “STX” tokens, to investors in interstate commerce, without filing a
registration statement with the SEC, and without qualifying for any exemption from
regisiration.
(3). By engaging in the conduct described above, Defendants STOX and all others,
directly or indirectly, singly and in concert with others, has made use of the means or
instruments of transportation or communication in interstate commerce, or of the mails,
to offer to sell or to sell securities, or carried or caused to be carried through the mails or

in interstale commerce, by means ox instrumenis of izansporiation, securities for the

purpose of sale or for delivery after sale, when no registration statement had been filed or

was in effect as to such securities, and when no exemption from registration was

applicable.

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(4). By engaging in the conduct described above, Defendants have violated, and unless
restrained and enjoined will continue to violate, Sections 5(a) and 5(c), 15 U.S.C. §§

77e(a) & T7e(c).

SECOND CL FOR RELIEF

Unregistered Broker-Dealer Violation of Section 15(a) of the Exchange Act

(Against All Defendants)

(1). Plaintiff realleges and incorporates by reference the allegations contained in the
preceding paragraphs of this complaint, as though fully set forth herein.

(2). By engaging in the conduct described above, Defendants Stox and al! others, made
use of the mails and means or instrumentalities of interstate commerce to effect
transactions in, and induced and attempted to induce the purchase or sale of, securities
(other than exempted securities or commercial paper, bankers' acceptances, or
commercial bills) without being registered with the SEC in accordance with Section
15(b) of the Exchange Act, 15 U.S.C. §7 8o(b), and without complying with any
exemptions promulgaied pursuant io Seciion i5(aj(2), 15 U.S.C. § 780(a\(2).

(3). By engaging in the conduct described above, Defendants Stox and all others have
violated, and unless restrained and enjoined will continue to violate, Section 15(a) of the

Exchange Act, 15 U.S.C. § 780(a).

PRAYER Wherefore, Plaiatiff prays for judgment agaiasi defendants as follows:

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Issue findings of fact and conclusions of law that Defendants committed the alleged
violations.

Il.
Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of Civil
Procedure, permanently enjoining Defendants and their officers, agents, servants,
employees and attorneys, and those persons in active concert or participation with any of
them, who receive actual notice of the judgment by personal service or otherwise, and
each of them, from violating Sections 5(a) and 5(c) of the Securities Act [15 U.S.C. §§

77e(a), 77e(c)].

Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of Civil
Procedure, permanently enjoining Defendants and their officers, agents, servants,
employees and attorneys, and those persons in active concert or participation with any of
them, who receive actual notice of the judgment by personal service or otherwise, and
each of ihem, from violating Section 15(a) of the Exchange Aci [15 U.S.C. §§ 780(a)].

IV.

Order Defendants to disgorge all funds received from their illegal conduct, together with

prejudgment interest thereon.

V.
Order Defendants to pay civil peaalties under Section 20(d) of the Securities Act [15
U.S.C. § 77t(d)| and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)].

And also;

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1. For general and special damages;

2. For treble damages;

3. For exemplary damages;

4. For compensatory damages;

5. For costs of suit herein, including reasonable attormeys’ fees; and

6. For such further relief as the Court may deem just and proper.

L CERTIFICATION AND CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as io harass, cause unnecessary delay, or needlessly increase ihe cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of
Rule 11,

1 agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with the

Clerk's Office may result in the dismissal of my case.

Date of signing: / / ~ 2S - | a

Signature of Plaintiff Ss Sr

—_

Printed Name of Piaintiff SEAN SNYDER

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